         Case 1:01-cv-02094-RCL Document 538 Filed 06/01/16 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 DEBORAH D. PETERSON, Personal
 Representative of the Estate of James C.
 Knipple (Dec.), et al.,
               Plaintiffs,                               Case No. 01-cv-2094

         - against -                                     Chief Judge Royce C. Lamberth

 ISLAMIC REPUBLIC OF IRAN, et al.,
            Defendants.

                          AMENDED NOTICE OF CHARGING LIEN

TO THE PLAINTIFFS, ALL OTHER PARTIES IN THIS ACTION, AND THEIR RESPECTIVE
ATTORNEYS:

        PLEASE TAKE NOTICE:

        1.      Jay Glenn (“Glenn”), an attorney admitted to practice in the State of Illinois, hereby

asserts an attorney charging lien in and to the proceeds of any and all collection, recovery,

judgment, claim, or collateral undertaking (all such amounts, the “Proceeds”) now or in the future

to be received by each of the respective plaintiffs herein listed on the attached Exhibits 1 and 2 in

full or partial satisfaction of their respective judgments in this action, to the extent specified below,

including, without limitation, any such Proceeds paid directly to the following attorneys and firms:

                (a)     Fay & Perles (“F&P”);

                (b)     Fay Law Group, P.A.;

                (c)     Fay Kaplan Law P.A.;

                (d)     Thomas Fay, Esq.;

                (e)     Perles Law Firm, P.C.;

                (f)     Steven R. Perles, Esq.;

                (g)     The Rothenberg Law Firm LLP;

                (h)     Allen L. Rothenberg, Esq.;
         Case 1:01-cv-02094-RCL Document 538 Filed 06/01/16 Page 2 of 5



               (i)     Anthony J. LaSpada, P.A.; and

               (j)     Anthony J. Laspada, Esq.

       2.      Such charging lien is asserted for the purpose of securing Glenn’s fee claim of: (a)

3% of the respective gross amounts collected on behalf of the 103 plaintiffs in this action listed on

Exhibits 1 and 2, to which Glenn is entitled pursuant to an agreement between Glenn and F&P;

and (b) 11.111% of the respective gross amounts collected on behalf of the 40 plaintiffs in this

action listed on Exhibit 2, to which Glenn is entitled pursuant to agreements between Glenn, F&P,

and the respective plaintiffs; plus (c) unreimbursed costs and expenses due Glenn of $15,288.56.

       3.      Any and all collection, recovery, distribution, funds on hand, cash on hand, or any

recovery due to the respective plaintiffs listed on Exhibits 1 and 2 are subject to and being

impressed by the charging lien in Glenn’s favor to the extent specified above.

Dated: June 1, 2016                                   STORCH AMINI & MUNVES PC

                                                      /s/ Bijan Amini
                                                      Bijan Amini
                                                      2 Grand Central Tower
                                                      140 East 45th Street, 25th Floor
                                                      New York, New York 10017
                                                      (212) 490-4100
                                                      bamini@samlegal.com

                                                      Attorneys for Jay Glenn




                                                  2
         Case 1:01-cv-02094-RCL Document 538 Filed 06/01/16 Page 3 of 5



                                        EXHIBIT 1
                     Plaintiffs Whom F&P Retained Glenn to Represent
                     for the Purpose of Proving Damages in this Action

Sommerhof Plaintiffs                            33.    Paul Woollett
1.   Estate of William Scott Sommerhof          34.    Lilla Woollett Abbey
2.   William J. Sommerhof                       35.    Lyda Woollett Guz
3.   Jocelyn J. Sommerhof
4.   John Sommerhof                             Phillips Plaintiffs
                                                36.    Estate of John Arthur Phillips, Jr.
Helms Plaintiffs                                37.    Nancy Brocksbank Fox
5.    Estate of Mark A. Helms
6.    Mary Ann Turek                            Young Plaintiffs
7.    Marvin R. Helms                           38.   Thomas D. Young
8.    Christopher Todd Helms
9.    Rebecca Gintonio                          Swinson Plaintiffs
                                                39.   Craig Swinson
Livingston Plaintiffs
10.    Estate of Joseph R. Livingston, III      Moore Plaintiffs
11.    Annette R. Livingston                    40.   Lovelle “Darrell” Moore
12.    Joseph R. Livingston IV                  41.   Allie Mae Moore

Scott Plaintiffs                                Wheeler Plaintiffs
13.    Estate of Gary Randall Scott             42.   Danny Gordon Wheeler
14.    Mary Ann Scott                           43.   Brenda June Wheeler
15.    Stephen Allen Scott                      44.   Andrew Wheeler
16.    Jon Christopher Scott                    45.   Jonathan Wheeler
17.    Kevin James Scott                        46.   Benjamin Wheeler
18.    Susan Scott Jordan                       47.   Kerry Wheeler
                                                48.   Estate of Marlis “Molly” Wheeler
Belmer Plaintiffs                               49.   Jill Wold
19.   Estate of Alvin Burton Belmer
20.   Luddie Belmer                             Thorstad Plaintiffs
21.   Alue Belmer                               50.   Estate of Thomas Paul Thorstad
22.   Clarence Belmer                           51.   James Thorstad, Sr.
23.   Kenneth Belmer                            52.   Barbara Thorstad
24.   Annette Belmer                            53.   Estate of Susan Thorstad Hugis
25.   Donna Belmer
26.   Denise Belmer                             Olson Plaintiffs
                                                54.   Estate of John Arne Olson
Sturghill Plaintiffs                            55.   Julia A. McFarlin
27.   Estate of Eric D. Sturghill               56.   Mary E. Baumgartner
28.   Marcus L. Sturghill                       57.   Susan J. Sinsicoco
29.   Marcus D. Sturghill                       58.   Karen L. Olson
30.   NeKeisha Lynn Sturghill                   59.   Jana M. Christian
                                                60.   Wendy L. Lange
Woollett Plaintiffs                             61.   Ronald J. Olson
31.   Estate of Donald Elberan Woollett         62.   Roger S. Olson
32.   Beverly Woollett                          63.   Randall D. Olson
         Case 1:01-cv-02094-RCL Document 538 Filed 06/01/16 Page 4 of 5



                                         EXHIBIT 2
                   Plaintiffs Referred to F&P by Glenn and Represented
                 by Him in this Action for the Purpose of Proving Damages

Livingston Plaintiffs                           Thorstad Plaintiffs
1.     Tia Fox                                  30.   Kathleen Elizabeth Thorstad Hedge
2.     Estate of Joseph R. Livingston, Jr.      31.   Ryan Thorstad
                                                32.   Adam Thorstad
Scott Plaintiffs                                33.   Janice Thorstad Edquist
3.     Estate of Larry Scott                    34.   Kathryn Thorstad Wallace
                                                35.   Barbara Thorstad Warwick
Belmer Plaintiffs                               36.   Patricia Thorstad Zosso
4.    Faye Belmer                               37.   James Thorstad, Jr.
5.    Colby Keith Belmer                        38.   John Thorstad
Phillips Plaintiffs                             Olson Plaintiffs
6.     John Phillips, Sr.                       39.   Estate of Sigurd Olson
7.     Victoria Jacobus                         40.   Estate of Bertha Olson
8.     Elizabeth Phillips Moy
9.     Harold Phillips

Young Plaintiffs
10.   Estate of Robert Young
11.   Estate of Nora Young
12.   James Young
13.   Mary Stilpen

Swinson Plaintiffs
14.   Dawn Swinson
15.   Teresa Swinson
16.   Cydia Shaver
17.   William Swinson
18.   Daniel Swinson
19.   Estate of Kenneth J. Swinson
20.   Estate of Ingrid M. Swinson

Moore Plaintiffs
21.   Deborah Crawford
22.   Audrey Webb
23.   Alice Warren Franklin
24.   Jonnie Mae Moore-Jones
25.   Marvin S. Moore
26.   Jamaal Muata Ali
27.   Estate of Johnney S. Moore
28.   Bronzell Warren
29.   Estate of James Otis Moore
        Case 1:01-cv-02094-RCL Document 538 Filed 06/01/16 Page 5 of 5



                               CERTIFICATE OF SERVICE

       I hereby certify that on this June 1, 2016, I served the foregoing Amended Notice of
Attorney’s Charging Lien on all counsel of record via CM/ECF, and on the attorneys listed below
via U.S. mail at the following addresses:

                                    Thomas Fay, Esq.
                                    FAY LAW GROUP, P.A.
                                    777 Sixth Street, NW, Suite 410
                                    Washington, D.C. 20001

                                    Steven R. Perles, Esq.
                                    PERLES LAW FIRM, PC
                                    1050 Connecticut Avenue, NW, Suite 500
                                    Washington, D.C. 20036

                                    Allen L. Rothenberg, Esq.
                                    LAW FIRM OF ALLEN L. ROTHENBERG
                                    1420 Walnut Street, 2nd Floor
                                    Philadelphia, PA 19102

                                    Anthony J. Laspada, Esq.,
                                    ANTHONY J. LASPADA, P.A.
                                    1802 North Morgan Street
                                    Tampa, FL 33602



                                                   /s/ Bijan Amini
                                                   Bijan Amini
